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13
                                UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15
16   UNITED STATES OF AMERICA,                Case No.: 3:18-cr-00577-CRB

17                Plaintiff,                  Judge: Hon. Charles Breyer
18
           vs.                                [PROPOSED] ORDER TO COMPEL AND
19                                            FOR RELATED RELIEF
     MICHAEL RICHARD LYNCH and
20   STEPHEN KEITH CHAMBERLAIN,               Date: January 10, 2024
21                                            Court: Courtroom 6 – 17th Floor
                  Defendants.                 Date Filed: December 21, 2023
22                                            Trial Date: March 18, 2024
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 1         The Court, having fully considered the papers and arguments presented by the parties,
 2   hereby GRANTS Defendant Michael Richard Lynch's Motion to Compel and for Related Relief.
 3         The Court ORDERS the following:
 4                1. The government shall produce a new witness list within seven days of any
 5                     Court order, containing the witnesses it actually intends to call at trial.
 6                2. The government shall produce a final exhibit list within seven days of any
 7                     Court order that is fully deduplicated and limited to the documents it actually
 8                     intends to introduce in its case.
 9                3. The government shall produce all missing discovery including the 3.3 million
10                     defective documents and all documents with the Bates ranges previously
11                     identified to the government by the defense as missing.
12                4. The government shall separately produce numbered copies of all exhibits on
13                     its new exhibit list in a searchable and reviewable format.
14                5. The government shall not adduce evidence at trial that is outside the scope of
15                     the government’s "voluntary" bill of particulars or shall produce a new
16                     appropriately particularized bill of particulars (identifying with specificity,
17                     among other things, the manner in which any specified transactions advanced
18                     the alleged schemes to defraud).
19                6. The government shall not take any depositions based on its failure to comply
20                     with its disclosure obligations or all depositions will adjourn until 30 days
21                     after the government complies with all other aspects of this order and after the
22                     defense receives and is able to review missing discovery.
23                7.   The defense date for filing in limine motions is adjourned until 30 days after
24                     the government complies with all other aspects of this order and after the
25                     defense receives and is able to review missing discovery.
26                8. The defense date for the disclosure of Rule 16 material is adjourned until 30
27                     days after the government complies with all other aspects of this order and
28                     after the defense receives and is able to review missing discovery.


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 2   Dated: _______________
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                                                 ______________________________
 4
                                                 HON. CHARLES R. BREYER
 5                                               UNITED STATES DISTRICT JUDGE

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            [PROPOSED] ORDER TO COMPEL AND FOR RELATED RELIEF – 3:18-CR-00577-CRB
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